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B1 (Official Form 1)(04/13)
                                                  United States Bankruptcy Court
                                                              District of New Jersey                                                                               Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Akesis LLC


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  XX-XXXXXXX
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  248 Latitude Lane, Suites 103 and 104
  Lake Wylie, SC
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         29710
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  York
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):
  P.O. Box 214
  Waldwick, NJ
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         07463
Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                               (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                            Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                          Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                            Chapter 9
     Corporation (includes LLC and LLP)                             in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                            Chapter 11
     Partnership                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                Commodity Broker
                                                                    Clearing Bank
                                                                    Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                           Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                          (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                       under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000
Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
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                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Akesis LLC
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X
                                                                                           Signature of Attorney for Debtor(s)                     (Date)



                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(04/13)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Akesis LLC
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Eric R. Perkins
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Eric R. Perkins                                                                          debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      McElroy, Deutsch, Mulvaney & Carpenter, LLP
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      40 West Ridgewood Avenue
      Ridgewood, NJ 07450                                                                      Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                              Email: info@mdmc-law.com
      201-445-6722 Fax: 201-445-5376
     Telephone Number
     July 10, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X    /s/ John Capicchioni
     Signature of Authorized Individual
      John Capicchioni                                                                         If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
      President                                                                                A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.
      July 10, 2015
     Date
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                                                              United States Bankruptcy Court
                                                                        District of New Jersey
 In re       Akesis LLC                                                                                       Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 60,000.00
             Prior to the filing of this statement I have received                                        $                 60,000.00
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                          CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:      July 10, 2015                                                       /s/ Eric R. Perkins
                                                                                 Eric R. Perkins
                                                                                 McElroy, Deutsch, Mulvaney & Carpenter, LLP
                                                                                 40 West Ridgewood Avenue
                                                                                 Ridgewood, NJ 07450
                                                                                 201-445-6722 Fax: 201-445-5376
                                                                                 info@mdmc-law.com




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                                                              United States Bankruptcy Court
                                                                        District of New Jersey
 In re      Akesis LLC                                                                               Case No.
                                                                                   Debtor(s)         Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       July 10, 2015                                              /s/ John Capicchioni
                                                                        John Capicchioni/President
                                                                        Signer/Title




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                        3D CRO LLC
                        Attn: Paul Pellegrino
                        50 Place, Suite 5
                        Hackensack, NJ 07601


                        Advance Skincare Surgery & MedCare
                        301 W. Bastanchury Road, Suite 240
                        Fullerton, CA 92835


                        Alexis N. Ready
                        4001 David Cox Road
                        Charlotte, NC 28269


                        Alison M. Cundari
                        302 Elis Way
                        Fort Mill, SC 29708


                        Allus Clinical Research
                        Rydal Square
                        Jenkintown, PA 19046


                        Almac Clinical Services
                        Attn: Accounts Receivable
                        25 Fretz Road
                        Souderton, PA 18964


                        Altoona Center for Clinical Research
                        175 Meadowbrook Lane
                        Duncansville, PA 16635


                        American Express
                        PO Box 1270
                        Newark, NJ 07101-1270


                        Ann M. Cripple
                        11943 Xenia Lane
                        Orlando, FL 32827


                        Ann Marie Stavash
                        132 Williams Avenue
                        Hasbrouck Heights, NJ 07604


                        Artcraft Health
                        39 Highway 12
                        Flemington, NJ 08822
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                    Attorney General of State of Tennessee
                    P.O. Box 20207
                    Nashville, TN 37202-0207


                    Attorney General's Office
                    Division of Law
                    Richard J. Hughes Justice Complex
                    25 West Market St., PO Box 080
                    Trenton, NJ 08625


                    Attorney General's Office
                     1000 Assembly St
                    Columbia, SC 29201


                    Autumn Holland
                    120 W. Silverwood Ranch Estates
                    Shenandoah, TX 77384


                    Biostudy Solutions, LLC
                    3224-C N. College Road
                    PMB 210
                    Wilmington, NC 28405-8826


                    Brynn S. Barker
                    838 Skywatch Lane
                    Monroe, NC 28112


                    Canfield Scientific, Inc.
                    253 Passaic Avenue
                    Fairfield, NJ 07004-2524


                    Casselle S. Ball
                    6351 Oakridge Road
                    Clover, SC 29710


                    Center for Dermatology Clinical Research
                    2557 Mowry Avenue, Suite 21
                    Fremont, CA 94538


                    Charles C. Driskill
                    4062 Brookchase Blvd
                    Fort Mill, SC 29707
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                    Charles W. Mumpower
                    414 Neil Hawkins Road
                    Gastonia, NC 28056


                    Charlottesville Dermatology Research
                    600 Peter Jefferson Parkway, Suite 230
                    Charlottesville, VA 22911


                    Cheryl L. Effron, M.D., Inc.
                    500 S. Anaheim Hills Road, Suite 210
                    Anaheim, CA 92806


                    Clinical Investigation Specialists, Inc.
                    1800 Nations Drive, Suite 115
                    Gurnee, IL 60031


                    Clinical Trials Network, Inc.
                    701 Brickel Key Blvd, Suite 1409
                    Miami, FL 33131


                    Clinical Trials of Texas, Inc.
                    7940 Floyd Curl Drive, Suite 700
                    San Antonio, TX 78229


                    Coast Dermatology Medical Associates
                    23550 Hawthorne Blvd, #200
                    Torrance, CA 90505


                    Cynthia C. Byrum
                    5756 Saint James Lane
                    York, SC 29745


                    David Stoll
                    9735 Wilshire Blvd, #418
                    Beverly Hills, CA 90212


                    Derek L. Harvey
                    321 Sparkman Road
                    Plant City, FL 33566


                    Dermatology Consulting Services
                    1817 Chestnut Drive
                    High Point, NC 27262
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                    Dr. Sunil Dhawan
                    119 Martingale Drive
                    Fremont, CA 94539


                    Encino Research
                    16133 Ventura Blvd #340-380
                    Encino, CA 91436


                    Eshe Williams
                    8700 Hollow Creek Circle 301
                    Charlotte, NC 28262


                    eStudy Site
                    6367 Alvarado Court, Suite 300
                    San Diego, CA 92120


                    FXM Research Corp.
                    11760 Bird Road, Suite 452
                    Miami, FL 33172


                    FXM Research International
                    11760 Bird Road, Suite 452
                    Miami, FL 33172


                    FXM Research Miramar
                    11760 Bird Road, Suite 452
                    Miami, FL 33172


                    Greg T. Zingler, Inc.
                    2170 Wilton Drive, Apt. 213
                    Fort Lauderdale, FL 33305


                    Harmony Medical Research Institute
                    8001 West 26th Avenue, Unit 3
                    Hialeah, FL 33016


                    Health Awareness Inc.
                    411 West Indiantown Road
                    Jupiter, FL 33458


                    Heartland Research Associates - G
                    700 Medical Drive, Suite 210
                    Newton, KS 67114
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                    Heartland Research Associates - K
                    3730 N. Ridge Road, Suite 600
                    Wichita, KS 67205


                    Heather L. Holt
                    326 Jackson Place
                    Apt. A
                    Golden, CO 80403


                    ICR - International Clinical Research
                    819 E. 1st Street, Suite 6
                    Sanford, FL 32771


                    IMA Medical Research, PC
                    660 White Plains Road, Suite 630
                    Tarrytown, NY 10591


                    Integreview
                    3001 S. Lamar Blvd, Suite 210
                    Austin, TX 78704


                    Internal Revenue Service
                    Special Procedures
                    PO Box 744
                    Springfield, NJ 07081-0744


                    Internal Revenue Service
                    1835 Assembly St.
                    Columbia, SC 29201


                    Interphase Clinical Consulting
                    Attn: Sabrina Montano
                    1925 Galbreth Road
                    Pasadena, CA 91104


                    Ishta Clinical Research
                    7238 Henri Bourassa Quest
                    Saint Laurent QC
                    H4S 2B2 Canada


                    Island Dermatology
                    360 San Miguel Drive, #501
                    Newport Beach, CA 92660
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                    Joan Cellana
                    12055 3rd Street, E #201
                    Treasure Island, FL 33706


                    John D. Mills
                    210 Stallings Mill Drive
                    Mooresville, NC 28115


                    John W. Colby, III
                    135 Royal Pointe Way
                    Mooresville, NC 28117


                    Jose R. Cajigas
                    812 Caribou Ridge Trail
                    Pflugerville, TX 78660


                    Kathleen A. Seifert
                    2529 Crafton Drive
                    Bensalem, PA 19020


                    Keri L. Winkler
                    2101 Wood Avenue
                    Bristol, PA 19007


                    Kimberly M. Gray
                    6010 Inland Greens Drive
                    Wilmington, NC 28405


                    Kotait Clinical Monitoring
                    Attn: Virginia Kotait
                    1605 SW 78th Street
                    Gainesville, FL 32607


                    Laura M. Hundemer
                    1932 Nadine Road
                    Apt 104
                    Wesley Chapel, FL 33544


                    Lazar Associates LLC
                    Attn: Jeffrey D. Lazar
                    107 Nautilus Avenue
                    Austin, TX 78738
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                    LCC Medical Research Institute, LLC
                    Attn: Vivial Salinas, RN
                    1150 NW 72 Ave, Suite 620
                    Miami, FL 33126


                    Leslie C. Zabel
                    1119 Arges River Drive
                    Fort Mill, SC 29715


                    LifeSci Compliance
                    P.O. Box 609
                    Lionville, PA 19353


                    Lisa M. Bledso
                    24322 Jumping Jay Drive
                    Hockley, TX 77447


                    Loren R. Gelber
                    6242 Folger Drive
                    Charlotte, NC 28270


                    Madison P. Hanakahi
                    5816 Natoma Road
                    Clover, SC 29710


                    Marietta Dermatology Clinical Research
                    111 Marble Mill Road
                    Marietta, GA 30060


                    Marilynn D. Graham
                    6818 Woodfield Drive
                    Charlotte, NC 28215


                    Marta I. Rendon, MD
                    1001 NW 13th Street, Suite 100
                    Boca Raton, FL 33486


                    Matthew W. Horsley
                    1029 Ileagnes Road
                    Raleigh, NC 27603


                    McGuire Woods
                    One James Center
                    901 East Cary Street
                    Richmond, VA 23219
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                    Moore Clinical Research, Inc.
                    1171 Nikki View Drive
                    Brandon, FL 33511


                    Nancy B. Cundari
                    3200 Chester Highway
                    York, SC 29745


                    Oceane7 Clinical Research LLC
                    8100 W. Flagler Street, Suite 101
                    Miami, FL 33144


                    OM Medical
                    6841 S. Eastern Avenue, Suite 100
                    Las Vegas, NV 89119


                    OnPoint Alliances, LLC
                    9426 Chanson Place
                    Matthews, NC 28105


                    Palmetto Clinical Trial Services
                    115 N. Main Street
                    Fountain Inn, SC 29644


                    Paragon Research Corp.
                    Attn: Marc Bouthiller
                    123 West Nye Lane, Suite 449
                    Carson City, NV 89706


                    Paula Wyatt
                    9432 Emerald Woods Way
                    Knoxville, TN 37922


                    Perdomo Clinical Consulting Inc.
                    2211 Par Meadows Lane
                    Plant City, FL 33566


                    Physicians Research Group
                    3370 North Hayden Road #123-184
                    Scottsdale, AZ 85251


                    Quartesian, LLC
                    Attn: Thomas Pilsworth
                    3 Independence Way
                    Princeton, NJ 08540
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                    Regina M. Cassidy
                    1850 Cotillion Drive
                    Apt. 3424
                    Atlanta, GA 30338


                    Renstar Medical Research
                    104 SE 1st Avenue, Suite B
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                    Department of the Treasury
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                    Trenton, NJ 08646


                    State of South Carolina
                    Department of Treasury
                    P.O. Box 11778
                    Columbia, SC 29211


                    State of Tennesse, Div. of Taxation
                    500 Deaderick Street
                    Nashville, TN 37242
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                                                              United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Akesis LLC                                                                                     Case No.
                                                                                    Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification
or recusal, the undersigned counsel for Akesis LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class
of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 July 10, 2015                                                         /s/ Eric R. Perkins
 Date                                                                  Eric R. Perkins
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Akesis LLC
                                                                       McElroy, Deutsch, Mulvaney & Carpenter, LLP
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